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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA

V.                                                  CASE NO. CR413-203

KENDALL ALPHONZO STEVENS,

        Defendant.


                                     ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 242), which recommended the dismissal

of Defendant Kendall Alphonzo Stevens's Motion to Suppress

(Doc. 220) due to his entry of a negotiated guilty plea

(Doc. 236) . After a careful consideration, the report and

recommendation is              ADOPTED    as the Court's opinion in this

case and Defendant's Motion to Suppress (Dec. 220) is

DISMISSED AS MOOT.

                                     Yz
        SO ORDERED
                 c, this         27- d ay of May 2015.


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                      II C-5                WILLIAM T. MOORE,
                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF GEORGIA
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